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                                                                                                      3015-1 Model13Plan 12-2023
                                               United States Bankruptcy Court
                                                     Southern District of Indiana
 In re   Kyle Michael Blazey                                                                     Case No.
                                                                    Debtor(s)                    Chapter      13



                                                     CHAPTER 13 PLAN
                                                                Original
                                                     Amended Plan # (e.g. 1st, 2nd)
                                                     **MUST BE DESIGNATED**

1. NOTICE TO INTERESTED PARTIES:

The Debtor must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as "Not Include", if neither box is checked, or if both boxes are checked, the provision will be ineffective if set out later in the
plan.

1.1 A limit on the amount of a secured claim, pursuant to paragraph 8(c), which                  Included          Not Included
may result in a partial payment or no payment at all to the secured creditor.
1.2 Avoidance of a judicial lien or nonpossessory, non-purchase money security                   Included          Not Included
interest. Any lien avoidance shall occur by separate motion or proceeding,
pursuant to paragraph 12.
1.3 Nonstandard provisions, set out in paragraph 15.                                             Included          Not Included

2. GENERAL PROVISIONS:

  (a)    YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your attorney. If you oppose
  any provision of this plan, you must file a timely written objection. This plan may be confirmed without further notice or hearing
  unless a written objection is filed before the deadline stated on the separate Notice you received from the Court.

  (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan. Absent a Court order
  determining the amount of the secured claim, the filed proof of claim shall control as to the determination of pre-petition arrearages;
  secured and priority tax liabilities; other priority claims; and the amount required to satisfy an offer of payment in full. All claims
  that are secured by a security interest in real estate shall comply with the requirements of Federal Rule of Bankruptcy Procedure
  (“FRBP”) 3001(c)(2)(C).

  (c)     NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all creditors with claims secured by a
  security interest in real estate shall comply with the requirements of FRBP 3002.1(b) and (c) without regard to whether the real
  estate is the Debtor’s principal residence. If there is a change in the mortgage servicer while the bankruptcy is pending, the
  mortgage holder shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee (“Trustee”) a
  Notice setting forth the change and providing the name of the new servicer, the payment address, a contact phone number and a
  contact e-mail address.

  (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage creditors in paragraph 8(c)
  (whose rights are not being modified) or in paragraph 11 (whose executory contracts/unexpired leases are being assumed) may
  continue to mail customary notices or coupons to the Debtor or the Trustee notwithstanding the automatic stay.

  (e)    EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8, the Trustee may increase the amount
  of any “Equal Monthly Amount” offered to appropriately amortize the claim. The Trustee shall be permitted to accelerate payments
  to any class of creditor for efficient administration of the case.

  (f)    PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order lifting the stay, no
  distributions shall be made on any secured claim relating to the subject collateral until such time as a timely amended deficiency
  claim is filed by such creditor and deemed allowed, or the automatic stay is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such portion of future earnings
or other future income or specified property of the Debtor as is necessary for the execution of this plan.

4. PLAN TERMS:
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 (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $151.00 per month for 58 months to the Trustee, starting not later
 than 30 days after the order for relief, for 58 months, for a total amount of $ 8,758.00 .
 Additional payments to the Trustee and/or future changes to the periodic amount proposed are:
  None.


 (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C. §1306(a)(1) or if the Trustee
 discovers undisclosed property of the estate, then the Trustee may obtain such property or its proceeds to increase the total amount
 to be paid under the plan. However, if the Trustee elects to take less than 100% of the property to which the estate may be entitled
 OR less than the amount necessary to pay all allowed claims in full, then a motion will be filed, and appropriate notice given.

 (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed to secured lenders require
 additional funds from the Debtor's income, the Debtor and the Trustee may agree that the Debtor will increase the periodic payment
 amount or that the time period for making payments will be extended, not to exceed 60 months. Creditors will not receive notice of
 any such agreement unless the total amount that the Debtor will pay to the Trustee decreases. Any party may request in writing,
 addressed to the Trustee at the address shown on the notice of the meeting of creditors, that the Trustee give that party notice of any
 such agreement. Agreements under this section cannot extend the term of the plan more than 6 additional months.

 (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion pursuant to 11 U.S.C. §1329.
 Service of any motion to modify this plan shall be made by the moving party as required by FRBP 2002(a)(5) and 3015(h), unless
 otherwise ordered by the Court.

5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR’S ATTORNEY FEES):

    NONE
 All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees otherwise.
                 Creditor                                   Type of Claim                              Scheduled Amount
    Thomas D. Bushhorn 24573-79                             Attorney Fees                                      $4,000.00

6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

  (a) Ongoing Domestic Support Obligations:
     NONE

 Debtor shall make any Domestic Support Obligation payments that are due after the filing of the case under a Domestic Support
 Order directly to the following payee:
                 Creditor                              Type of Claim                                 Payment Amount

 (b) Domestic Support Obligation Arrears:

    NONE

 The following arrearages on Domestic Support Obligations will be paid in the manner specified.

            Creditor                          Type of Claim                    Estimated Arrears                    Treatment

7. PAYMENT OF MORTGAGES RELATING SOLELY TO THE DEBTOR’S PRINCIPAL RESIDENCE:

    NONE

 (a) Claims Covered: Only consensual mortgages on the principal residence are treated under this paragraph. All other secured
 claims should be treated under paragraph 8.

 (b) Pre-Petition Arrearage: As required by Local Rule B-3015-1(e), if there is a pre-petition arrearage claim on a mortgage
 secured by the Debtor's principal residence, then both the pre-petition arrearage and the post-petition mortgage installments shall be
 made through the Trustee. Initial post-petition payment arrears shall be paid with secured creditors. If there are no arrears, the
 Debtor may pay the secured creditor directly
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 (c) Treatment: Before confirmation, the payment to the mortgage lender shall be the regular monthly mortgage payment unless
 otherwise ordered by the Court or modified pursuant to an agreement with the mortgage lender. After confirmation, payment shall
 be as set forth below. Equal Monthly Amount and Estimated Arrears listed below shall be adjusted based on the filed claim and/ or
 notice.

                                                                        Estimated                                      Mortgage
       Creditor                       Residential Address                Arrears         Equal Monthly Amount          Treatment

 Centra Credit Union       1001 Ginger Pl North Vernon, IN 47265        $0.00*            $1,201.00               Pd. Outside 13 Plan

 No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments made by the Trustee
 under the provisions of the Plan, unless allowed by Order of the Court.

 (d) Escrow Surplus: An escrow surplus arising as to a mortgage paid by the Trustee shall be returned to the Trustee by the
 mortgage lender or servicer within 30 days of the completion of an annual escrow analysis or other review that determines a
 surplus. The Trustee shall file and serve on the Debtor and claimants a Notice of Proposed Distribution of the escrow surplus,
 provide a 30-day Objection Notice and file a Certificate of Service. If no response is timely filed, the Trustee may treat the escrow
 surplus as set forth in the Notice of Proposed Distribution.

8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER PARAGRAPH 7:

 (a) Claims Covered: Secured claims not treated under paragraph 7 are treated under this paragraph, including but not limited to
 delinquent real estate taxes; homeowners' association or similar dues with secured status; sewer liens, and judgment liens that are
 not being fully avoided under paragraph 12. Claims secured by personal property are treated in subparagraphs (b) and (c).
 Treatment of other secured claims is provided for in subparagraph (d).

 (b) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:

    NONE

 Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation, allowed claims secured
 by personal property as to which valuation under 11 U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate
 protection payments equal to 1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the
 holders of allowed claims secured by personal property as soon as practicable after receiving plan payments from the Debtor, and
 the secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in paragraph 15, the
 Trustee will pay to the holder of each allowed secured claim the filed claim amount with interest at the rate stated below.

    Creditor             Collateral               Purchase          Estimated Claims          Interest               Equal
                                                    Date                Amount                 Rate                 Monthly
                                                                                                                    Amount
 (c) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Applicable:

  NONE
 Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation as to allowed claims
 secured by personal property not treated under subparagraph (d) but as to which 11 U.S.C. § 506 valuation is applicable, the Trustee
 shall pay monthly adequate protection payments equal to 1% of the value of the collateral stated below. The Trustee shall disburse
 such adequate protection payments to the secured creditor as soon as practicable after receiving plan payments from the Debtor, and
 the secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in paragraph 15, the
 Trustee will pay to the holder of each allowed secured claim in the manner set forth below.

   Creditor          Collateral           Purchase          Scheduled            Value           Interest               Equal
                                            Date              Debt                                Rate                 Monthly
                                                                                                                       Amount
 (d) Payment of Other Secured Claims:

    NONE
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  This subparagraph applies to claims secured by real estate not covered in paragraph 7 and to claims secured by personal property
  not covered in subparagraphs (b) or (c) above. Such claims, including those not subject to a monthly payment amount established
  before filing, shall be paid as specified below. (When completing the chart, if a column is not applicable, enter 'n/a').
     Creditor      Collateral/Type of Date Incurred         Estimated       Interest Rate      Equal Monthly             Treatment
                           Debt                              Arrears                               Amount


  (e) Surrendered/Abandoned Collateral:

     NONE

  The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate abandons any interest in, and the
  automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the listed collateral and the automatic stay pursuant to 11 U.S.C.
  §1301 is terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in
  paragraph 10(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

                     Creditor                          Collateral         Surrendered/Abandoned              Scheduled Value
                                                  2021 GMC Canyon           Abandoned
              Td Auto Finance                        32,000 miles           Surrendered                         $40,070.00

9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
     NONE

  All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest thereon (whether or not an
  interest factor is expressly offered by plan terms). All allowed priority claims shall be paid in full by the Trustee, exclusive of
  interest, unless the creditor agrees otherwise.

              Creditor                  Type of Priority or Secured Claim         Scheduled Debt                     Treatment
                 IDOR                          11 U.S.C. 507(a)(8)                       $0.00                  trustee to pay in full
                  IRS                          11 U.S.C. 507(a)(8)                       $0.00                  trustee to pay in full

10. NON-PRIORITY UNSECURED CLAIMS:
    (a) Separately Classified or Long-term Debts:
          NONE

          Creditor              Basis for Classification            Treatment                Amount                      Interest
    (b)       General Unsecured Claims:
           X Pro rata distribution from any remaining funds; or
            Other:

11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
    All executory contracts and unexpired leases are REJECTED, except the following, which are assumed.

 12. PARTIAL OR COMPLETE AVOIDANCE OF LIENS:
          NONE
    Debtor will file a separate motion or adversary proceeding to avoid in whole or in part the following non-purchase money
    security interests, judicial liens, wholly unsecured mortgages or other liens that impair exemptions:
                     Creditor                          Collateral/Property Description                   Basis for Avoidance

13. LIEN RETENTION:
    With respect to each allowed secured claim provided for by the plan, the holder of such claim shall retain its lien securing such
    claim until the earlier of a) the payment of the underlying debt determined under non-bankruptcy law or b) entry of a discharge
    order under 11 U.S.C. § 1328.

14. VESTING OF PROPERTY OF THE ESTATE:
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    Except as necessary to fund the plan or as expressly retained by the plan or confirmation order, the property of the estate shall
    revest in the Debtor upon confirmation of the Debtor’s plan, subject to the rights of the Trustee, if any, to assert claim to any
    additional property of the estate acquired by the Debtor post-petition pursuant to operation of 11 U.S.C. § 1306.

15. NONSTANDARD PROVISIONS:

   NONE

Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard provision placed elsewhere in the
plan is void. These plan provisions will be effective only if the included box in Paragraph 1.3 of this plan is checked.

Pursuant to §1326, EMA payments to secured creditors under paragraph 8 of the Plan to begin in month
18 of the plan or after administrative claims under paragraph 5 are paid in full, whichever may come
first. The trustee may adjust the equal monthly amount as is necessary to properly amortize the claim(s)
treated under this section.
*Any escrow shortages or mortgage fees related to filing the proof of claim shall be paid via the Chapter
13 Plan. Plan may also include up to one (1) month regular installment payment.

*Any mortgage notice of post petition fees will be paid via the Chapter 13 Plan.



Date:     February 4, 2025


                                                                 /s/ Kyle Michael Blazey
                                                                 Signature of Debtor
                                                                 Kyle Michael Blazey
                                                                 Printed Name of Debtor

                                                                 /s/ Thomas D. Bushhorn
                                                                 Thomas D. Bushhorn 24573-79
                                                                 Signature of Attorney for Debtor(s)

                                                                                Address: 1015 3rd St., Suite E
                                                                        City, State, ZIP : Columbus, IN 47201
                                                                                  Phone: 812-314-8404
                                                                                     Fax:
                                                                                  E-mail: bushhornlaw@att.net

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in the form plan adopted by this Court,
other than any nonstandard provisions included in paragraph 15.
